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                                                  UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF FLORIDA

                                                  CASE NO.: 9:19-cv-81160-RS


    APPLE, INC.,

           Plaintiff,

    v.

    CORELLIUM, LLC,

          Defendant.
    _______________________________/

         PROPOSED ORDER GRANTING CORELLIUM’S EXPEDITED MOTION FOR
           LEAVE TO FILE MOTION FOR PARTIAL SUMMARY JUDGMENT AND
                      INCORPORATED MEMORANDUM OF LAW

          THIS CAUSE came before the Court upon Defendant, CORELLIUM, LLC’s

   (“Corellium”), Expedited Motion to File Partial Motion for Summary Judgment and Incorporated

   Memorandum of Law (“Partial Summary Judgment Motion”). Being fully advised, it is:

          ORDERED AND ADJUDGED that Corellium’s Expedited Motion is hereby

   GRANTED. Corellium is given leave to file its Partial Summary Judgment Motion. The Partial

   Summary Judgment Motion attached to the Expedited Motion for Leave is hereby deemed filed as

   of the date of this Order.

          DONE AND ORDERED this ___ of May, 2021, at Fort Lauderdale, Broward County in

   the Southern District of Florida.



                                               RODNEY SMITH
                                               UNITED STATES DISTRICT JUDGE
